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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


 ISABELLE ROY,                                       )   Case No. 1:19-cv-12103
                                                     )
                       Plaintiff,                    )   COMPLAINT FOR
                                                     )   VIOLATION OF THE
                                                     )   FEDERAL SECURITIES LAWS
                 vs.                                 )
                                                     )   JURY TRIAL DEMANDED
 RUDOLPH TECHNOLOGIES, INC.,                         )
 DAVID B. MILLER, JEFFREY A.                         )
 AUKERMAN, LEO BERLINGHIERI,                         )
 DANIEL H. BERRY, VITA A. CASSESE,                   )
                                                     )
 THOMAS G. GREIG, III, MICHAEL P.                    )
 PLISINSKI, and JOHN R. WHITTEN,                     )
                                                     )
                       Defendants.                   )
                                                     )


       Plaintiff Isabelle Roy (“Plaintiff”), by her undersigned attorneys, for this complaint against

defendants, alleges upon personal knowledge with respect to herself, and upon information and

belief based upon, inter alia, the investigation of counsel as to all other allegations herein, as

follows:

                                     NATURE OF THE ACTION

       1.       This action is brought by Plaintiff against Rudolph Technologies, Inc. (“Rudolph”

or the “Company”) and the members of Rudolph’s Board of Directors (the “Board” or the

“Individual Defendants”), for their violations of Sections 14(a) and 20(a) of the Securities

Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a), and U.S. Securities and

Exchange Commission (“SEC”) Rule 14a-9, 17 C.F.R. § 240.14a-9, and to enjoin the vote on a

proposed transaction, pursuant to which Rudolph will merge with Nanometrics Incorporated

(“Nanometrics”) through Nanometrics’ wholly-owned subsidiary PV Equipment Inc. (“Merger


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Sub”) (the “Proposed Transaction”).

       2.       On June 24, 2019, Rudolph and Nanometrics issued a joint press release

announcing they had entered into an Agreement and Plan of Merger dated June 23, 2019 (the

“Merger Agreement”).      Pursuant to the terms of the Merger Agreement, each issued and

outstanding share of Rudolph common stock will be converted into the right to receive 0.8042

shares of Nanometrics common stock (the “Merger Consideration”). Based on the closing price

of Nanometrics common stock on June 21, 2019, the implied value of the Merger Consideration

was approximately $27.16 per share. Upon completion of the Proposed Transaction, Rudolph

stockholders, collectively, and Nanometrics stockholders, collectively, will each own 50% of the

combined company.

       3.       On September 10, 2019, Rudolph filed a Definitive Proxy Statement on Schedule

14A (the “Proxy Statement”) with the SEC. The Proxy Statement, which recommends that

Rudolph stockholders vote in favor of the Proposed Transaction, omits or misrepresents material

information concerning, among other things, the data and inputs underlying the financial valuation

analyses that support the fairness opinion provided by Rudolph’s financial advisor, Morgan

Stanley & Co. LLC (“Morgan Stanley”). Defendants authorized the issuance of the false and

misleading Proxy Statement in violation of Sections 14(a) and 20(a) of the Exchange Act.

       4.       In short, unless remedied, Rudolph’s public stockholders will be irreparably

harmed because the Proxy Statement’s material misrepresentations and omissions prevent them

from making a sufficiently informed voting decision on the Proposed Transaction. Plaintiff seeks

to enjoin the stockholder vote on the Proposed Transaction, unless and until such Exchange Act

violations are cured.




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                                  JURISDICTION AND VENUE

        5.       This Court has jurisdiction over the claims asserted herein for violations of Sections

14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder pursuant to

Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331 (federal question

jurisdiction).

        6.       This Court has jurisdiction over the defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District, or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

        7.       Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Plaintiff’s

claims arose in this District, where a substantial portion of the actionable conduct took place, where

most of the documents are electronically stored, and where the evidence exists. Rudolph is

incorporated in Delaware and is headquartered in this District. Moreover, each of the Individual

Defendants, as Company officers or directors, either resides in this District or has extensive

contacts within this District.

                                              PARTIES

        8.       Plaintiff is, and has been at all times relevant hereto, a continuous stockholder of

Rudolph.

        9.       Defendant Rudolph is a Delaware corporation with its principal executive offices

located at 16 Jonspin Road, Wilmington, Massachusetts 01887. Rudolph is a worldwide leader in

the design, development, manufacture and support of process control tools that perform macro-

defect inspections and metrology, lithography systems, and process control analytical software

used by semiconductor and advanced packaging device manufacturers. The Company’s common


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stock is traded on the New York Stock Exchange under the ticker symbol “RTEC.”

       10.      Defendant David B. Miller (“Miller”) has been Chairman of the Board since August

2018 and a director of the Company since July 2015.

       11.      Defendant Jeffrey A. Aukerman (“Aukerman”) has been a director of the Company

since December 2014.

       12.      Defendant Leo Berlinghieri (“Berlinghieri”) has been a director of the Company

since September 2008.

       13.      Defendant Daniel H. Berry (“Berry”) has been a director of the Company since

October 1998.

       14.      Defendant Vita A. Cassese (“Cassese”) has been a director of the Company since

July 2018.

       15.      Defendant Thomas G. Greig, III (“Greig”) has been a director of the Company since

January 2003. Defendant Greig previously served as Chairman of the Board from April 2016 to

August 2018 and as the Board’s Lead Director from January 2013 through March 2016.

       16.      Defendant Michael P. Plisinski (“Plisinski”) has been Chief Executive Officer

(“CEO”) and a director of the Company since November 2015. Defendant Plisinski previously

served as the Company’s Executive Vice President and Chief Operating Officer since October

2014 and as the Vice President and General Manager, Data Analysis and Review Business Unit

since February 2006.

       17.      Defendant John R. Whitten (“Whitten”) has been a director of the Company since

July 2006.

       18.      Defendants identified in paragraphs 10 to 17 are collectively referred to herein as

the “Board” or the “Individual Defendants.”


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                               OTHER RELEVANT ENTITIES

       19.     Nanometrics is a Delaware corporation with its principal executive offices located

at 1550 Buckeye Drive, Milpitas, California 95035.         Nanometrics is a leading provider of

advanced, high-performance process control metrology and inspection solutions used primarily in

the semiconductor manufacturing industry, as well as in the fabrication of other solid-state devices

and components in the optoelectronic, LED and storage industries, and more recently in the

industrial, aerospace and scientific research markets. Nanometrics’ common stock is traded on the

NASDAQ Global Select Market under the ticker symbol “NANO.”

       20.     Merger Sub is a Delaware corporation and a wholly-owned subsidiary of

Nanometrics.

                               SUBSTANTIVE ALLEGATIONS

Background of the Company and Proposed Transaction

       21.     Rudolph designs, develops, manufactures, and supports process control defect

inspection and metrology, advanced packaging lithography, and process control software systems

used by microelectronic device manufacturers. It offers process and yield management solutions

used in bare silicon wafer production and processing facilities, and device packaging and test

facilities through standalone systems for macro-defect inspection, packaging lithography, probe

card test and analysis, and transparent and opaque thin film measurements. The Company also

provides spare parts and software licensing services. Rudolph markets and sells its products to

analog, logic, memory, radio frequency, complimentary metaloxide semiconductor image sensors,

microelectromechanical systems, and flat panel display manufacturers in the United States,

Taiwan, South Korea, Singapore, Austria, Japan, Germany, and China, as well as other European

and Asian countries. As of December 31, 2018, Rudolph had 651 employees.


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       22.     On May 6, 2019, the Company announced its first quarter 2019 financial results,

including revenue of $60.9 million, near the high end of its prior guidance, and GAAP earnings of

$0.24 per share, above the high end of its prior guidance. In the press release, defendant Plisinski

was quoted as stating:

       Rudolph was able to increase our earnings per share by 7% on a non-GAAP basis
       underscoring the strength of our diversified business model despite slightly lower
       quarter-over-quarter revenue. We are pleased with the progress our new products
       are having in the market and we will continue to invest in areas that both strengthen
       our position in diversified markets as well as expand into new markets such as
       wafer manufacturing and lithography.

       23.     On June 23, 2019, Morgan Stanley rendered its fairness opinion to the Board and

the Board approved the Merger Agreement. Rudolph and Nanometrics then executed the Merger

Agreement.

       24.     On June 24, 2019, Rudolph and Nanometrics issued a joint press release

announcing the Proposed Transaction, which stated in relevant part:

       Nanometrics Incorporated (NASDAQ: NANO), a leading provider of advanced
       process control metrology and software analytics, and Rudolph Technologies, Inc.
       (NYSE: RTEC), a leading provider of semiconductor process control systems,
       lithography equipment, and software for wafer fabs and advanced packaging
       facilities, today announced that they have agreed to combine in an all-stock merger
       of equals transaction. The merged company will be a premier end-to-end
       metrology, inspection, process control software, and lithography equipment
       provider for the semiconductor industry and other advanced markets.

       Under the terms of the agreement, which was unanimously approved by the Boards
       of Directors of both companies, Rudolph stockholders will receive 0.8042 shares
       of Nanometrics common stock for each Rudolph share. Upon completion of the
       merger, current Nanometrics stockholders will own approximately 50% and current
       Rudolph stockholders will own approximately 50% of the combined company.

       Rudolph CEO Michael Plisinski will serve as Chief Executive Officer and Rudolph
       CFO Steven Roth will serve as Chief Financial Officer of the combined company,
       alongside a highly experienced leadership team comprised of executives from both
       companies. The Board of Directors will be led by Nanometrics director Christopher
       Seams and will have 12 directors, consisting of six from each existing Board. The


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combined company will be headquartered in Wilmington, Massachusetts and will
maintain a strong presence at Nanometrics’ headquarters in Milpitas, California.

Nanometrics President and Chief Executive Officer, Pierre-Yves Lesaicherre said,
“Nanometrics has a long history of innovation in the field of optical metrology,
pioneering the use of scatterometry for semiconductor process control. In recent
years, we have established a strong position in optical critical dimension metrology,
enabling the ramp of advanced technology nodes by each of the major
semiconductor manufacturers worldwide. Our merger announced today with
Rudolph marks the culmination of our respective businesses’ growth,
diversification, and increased scale. We believe the combined global support
organizations, technology development teams and product portfolio will create a
unique, end-to-end solution provider across the entire semiconductor fabrication
process. The combined company will be able to provide improved device yield at
reduced manufacturing cycle time, supporting the accelerated product life cycles in
the semiconductor and other advanced markets.”

Rudolph Chief Executive Officer, Michael Plisinski added, “This strategic
transaction brings together two successful and complementary teams and product
portfolios. Nanometrics’ metrology portfolio is a strong strategic fit with Rudolph’s
current diversified product lines including software, inspection, metrology, and
lithography. Our current set of products has already created integrated solutions for
the advanced packaging market, and we expect to develop new integrated solutions
for customers as we are able to draw from an even larger set of products in the
future. Our customers are consolidating and rapidly innovating across the complete
value chain from front-end fabrication to packaging. Bringing these two successful
and complementary teams together enables us to solve our customers’ high-value
problems in the years ahead. We look forward to joining forces to leverage our
respective strengths and talented teams to benefit all stakeholders.”

Key Strategic and Financial Benefits

      The merger joins together two highly complementary, leading
       semiconductor inspection and metrology companies. Investors, customers,
       employees and all constituents are expected to benefit from:

      Complementary Products: Nanometrics and Rudolph have highly
       complementary portfolios. By bringing together front-end metrology with
       inspection solutions, the new company will have the opportunity to offer
       more comprehensive process control solutions to the world’s leading
       semiconductor device manufacturers. These served markets are also
       complementary, as the combined product portfolio provides tools and
       software to customers producing advanced nodes and specialty devices in
       the front-end along with advanced packaging in the back-end. As customers
       continue to invest in more advanced process control solutions, the combined

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       technology portfolio and established channels to these markets is expected
       to accelerate the ability to serve both front-end and back-end markets.

      Increases Served Markets: Each company currently has a semiconductor
       industry SAM of at least $1B, with additional SAM expansion opportunities
       of $400M to $500M per company. The combination is expected to expand
       the companies’ served market opportunity to approximately $3B. With each
       company’s capabilities in their respective served markets, the combination
       is expected to strengthen the combined team’s opportunity to grow their
       share of the combined SAM and invest in future expansions.

      Global Scale: The combined company will have broader, global scale
       enabling it to better invest, compete, and provide innovative services to the
       customer base. The combined company will have worldwide locations and
       facilities across the U.S., China, Europe, Japan, South Korea, Singapore and
       Taiwan, including a strong combined team worldwide. Nanometrics and
       Rudolph had in the aggregate approximately $600 million in revenue and
       $118 million in operating income based on 2018 results. In addition, at the
       end of the first calendar quarter, the companies had in the aggregate cash
       and marketable securities totaling $319 million, working capital of $526
       million and no debt.

      Strong Cash Generation: In 2017 and 2018 the companies generated a
       combined $223 million in cash flows from operating activities. The
       combination is expected to enhance the free cash flow generation of the
       combined enterprise, resulting in a stronger cash position to enable strategic
       capital deployment in order to further increase shareholder value.

      Increased Shareholder Value: The combined company is expected to drive
       long-term shareholder value through cost synergies and revenue growth
       opportunities. Annual cost synergies of at least $20 million are expected,
       primarily from elimination of duplicate public company costs, elimination
       of redundant facility leases, and other general administration areas. The
       companies expect additional potential upside from revenue synergies
       through cross-selling and software modules.

Timing and Approvals

The transaction is expected to close in the second half of 2019, subject to the
completion of customary closing conditions, including receipt of regulatory
approvals, and approval by the stockholders of each company.




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The Proxy Statement Contains Material Misstatements and Omissions

       25.     The defendants filed a materially incomplete and misleading Proxy Statement with

the SEC and disseminated it to Rudolph’s stockholders. The Proxy Statement misrepresents or

omits material information that is necessary for the Company’s stockholders to make an informed

decision whether to vote their shares in favor of the Proposed Transaction.

       26.     Specifically, as set forth below, the Proxy Statement fails to provide Company

stockholders with material information or provides them with materially misleading information

concerning the data and inputs underlying the financial valuation analyses that support the fairness

opinion provided by Rudolph’s financial advisor, Morgan Stanley.

       27.      The Proxy Statement describes Morgan Stanley’s fairness opinion and the various

valuation analyses it performed in support of its opinion. However, the description of Morgan

Stanley’s fairness opinion and analyses fails to include key inputs and assumptions underlying these

analyses. Without this information, as described below, Rudolph’s public stockholders are unable

to fully understand these analyses and, thus, are unable to determine what weight, if any, to place

on Morgan Stanley’s fairness opinion in determining whether to vote in favor of the Proposed

Transaction.

       28.      With respect to Morgan Stanley’s Rudolph Discounted Cash Flow Analysis, the

Proxy Statement fails to disclose: (i) the line items underlying unlevered free cash flow; (ii) the

financial metric Morgan Stanley applied perpetual growth rates to in order to derive the terminal

value, and quantification thereof; (iii) quantification of the inputs and assumptions underlying the

discount rates ranging from 8.6% to 9.6%; (iv) Rudolph’s estimated net cash as of June 30, 2019;

(v) the implied terminal multiples resulting from the analysis; and (vi) Rudolph’s fully diluted

shares outstanding as of June 20, 2019.


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       29.       With respect to Morgan Stanley’s Nanometrics Discounted Cash Flow Analysis,

the Proxy Statement fails to disclose: (i) the line items underlying unlevered free cash flow; (ii)

the financial metric Morgan Stanley applied perpetual growth rates to in order to derive the

terminal value, and quantification thereof; (iii) quantification of the inputs and assumptions

underlying the discount rates ranging from 9.1% to 10.1%; (iv) Nanometrics’ estimated net cash

as of June 30, 2019; (v) the implied terminal multiples resulting from the analysis; and (vi)

Nanometrics’ fully diluted shares outstanding as of June 20, 2019.

       30.     With respect to Morgan Stanley’s Rudolph Public Trading Comparables Analysis

and Nanometrics Public Trading Comparables Analysis, the Proxy Statement fails to disclose the

individual multiples and financial metrics for each of the selected companies analyzed by Morgan

Stanley.

       31.     With respect to Morgan Stanley’s Relative Research Analysts’ Future Price Targets

analysis, the Proxy Statement fails to disclose: (i) the price targets observed by Morgan Stanley in

the analysis; and (ii) the sources thereof.

       32.     Without such undisclosed information, Rudolph stockholders cannot evaluate for

themselves whether the financial analyses performed by Morgan Stanley were based on reliable

inputs and assumptions or whether they were prepared with an eye toward ensuring that a positive

fairness opinion could be rendered in connection with the Proposed Transaction. In other words,

full disclosure of the omissions identified above is required in order to ensure that stockholders

can fully evaluate the extent to which Morgan Stanley’s opinion and analyses should factor into

their decision whether to vote in favor of or against the Proposed Transaction.

       33.       The omission of this material information renders the statements in the “Opinion

of Morgan Stanley, Rudolph’s Financial Advisor” and “Rudolph Unaudited Financial Projections”


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sections of the Proxy Statement false and/or materially misleading in contravention of the

Exchange Act.

          34.    The Individual Defendants were aware of their duty to disclose the above-

referenced omitted information and acted negligently (if not deliberately) in failing to include this

information in the Proxy Statement. Absent disclosure of the foregoing material information prior

to the stockholder vote on the Proposed Transaction, Plaintiff and the other stockholders of

Rudolph will be unable to make an informed voting decision in connection with the Proposed

Transaction and are thus threatened with irreparable harm warranting the injunctive relief sought

herein.

                                      CLAIMS FOR RELIEF

                                               COUNT I

  Claims Against All Defendants for Violations of Section 14(a) of the Exchange Act And
                       SEC Rule 14a-9 Promulgated Thereunder

          35.   Plaintiff repeats all previous allegations as if set forth in full.

          36.   During the relevant period, defendants disseminated the false and misleading Proxy

Statement specified above, which failed to disclose material facts necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading in

violation of Section 14(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder.

          37.   By virtue of their positions within the Company, the defendants were aware of this

information and of their duty to disclose this information in the Proxy Statement. The Proxy

Statement was prepared, reviewed, and/or disseminated by the defendants. The Proxy Statement

misrepresented and/or omitted material facts, including material information about the data and

inputs underlying the financial valuation analyses that support the fairness opinion provided by

Morgan Stanley. The defendants were at least negligent in filing the Proxy Statement with these
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materially false and misleading statements.

       38.     The omissions and false and misleading statements in the Proxy Statement are

material in that a reasonable stockholder would consider them important in deciding how to vote

on the Proposed Transaction.

       39.     By reason of the foregoing, the defendants have violated Section 14(a) of the

Exchange Act and SEC Rule 14a-9(a) promulgated thereunder.

       40.     Because of the false and misleading statements in the Proxy Statement, Plaintiff is

threatened with irreparable harm, rendering money damages inadequate. Therefore, injunctive

relief is appropriate to ensure defendants’ misconduct is corrected.

                                             COUNT II

                        Claims Against the Individual Defendants for
                        Violations of Section 20(a) of the Exchange Act

       41.     Plaintiff repeats all previous allegations as if set forth in full.

       42.     The Individual Defendants acted as controlling persons of Rudolph within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers or directors of Rudolph and participation in or awareness of the Company’s operations or

intimate knowledge of the statements contained in the Proxy Statement filed with the SEC, they

had the power to influence and control and did influence and control, directly or indirectly, the

decision-making of the Company, including the content and dissemination of the various

statements which Plaintiff contends are false and misleading.

       43.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to

or shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.
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       44.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the securities violations

as alleged herein, and exercised the same. The Proxy Statement at issue contains the unanimous

recommendation of each of the Individual Defendants to approve the Proposed Transaction. They

were, thus, directly involved in the making of this document.

       45.     In addition, as the Proxy Statement sets forth at length, and as described herein, the

Individual Defendants were each involved in negotiating, reviewing, and approving the Proposed

Transaction. The Proxy Statement purports to describe the various issues and information that

they reviewed and considered — descriptions which had input from the Individual Defendants.

       46.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       47.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

defendants’ actions threaten to inflict.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment and preliminary and permanent relief,

including injunctive relief, in her favor, and against defendants, as follows:

       A.      Preliminarily and permanently enjoining defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction and

any vote on the Proposed Transaction, unless and until defendants disclose and disseminate the

material information identified above to Rudolph stockholders;




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       B.      In the event defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages to Plaintiff;

       C.      Awarding Plaintiff the costs of this action, including reasonable allowance for

Plaintiff’s attorneys’ and experts’ fees; and

       D.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff demands a trial by jury on all claims and issues so triable.



 Dated: October 10, 2019
                                                       /s/ Mitchell J. Matorin
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